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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN


MEMORIAL HOSPITAL, INC.,
                                                                       OPINION AND ORDER
                        Plaintiff,
        v.
                                                                              12-cv-649-slc
NEXTGEN HEALTHCARE INFORMATION
SYSTEMS, INC. and NEXTGEN HEALTHCARE
INFORMATION SYSTEMS, LLC,

                        Defendants.




                                              OPINION

        This lawsuit arises out of a failed attempt to implement electronic health records software

at the Memorial Medical Center hospital in Neillsville, Wisconsin. Plaintiff Memorial Hospital,

Inc., the operator of the hospital, has sued the software company, defendants NextGen

Healthcare Information Systems, Inc. and NextGen Healthcare Information Systems, LLC,

(collectively, “NextGen”), asserting causes of action for breach of contract, breach of the implied

covenant of good faith and fair dealing, unjust enrichment, fraud in the inducement and

negligent misrepresentation. Jurisdiction is present under 28 U.S.C. § 1332 because the amount

in controversy exceeds $75,000 and the parties’ citizenship is diverse.1

        Before the court is defendants’ motion to dismiss the case and order arbitration pursuant

to the Federal Arbitration Act, 9 U.S.C. § 4. The relevant facts and governing legal standards

are not in dispute; the issue before the court is how to interpret the parties’ contract. For the

reasons stated below, I am granting the motion to compel arbitration and staying this case.




       1
          Plaintiff is a W isconsin non-stock corporation and defendants are a California corporation
and limited liability company, respectively, operating principally in Pennsylvania with no W isconsin
residents as members.
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          In their motion, defendants contend that arbitration of the parties’ dispute is required

under Article XIII of the “Technology License & Integration, Support & Maintenance Services

Agreement” that the parties entered in December 2010. The entirety of the agreement consists

of an 11-page main document, six exhibits (designated Exhibit A through Exhibit F2 ) and one

addendum titled “Addendum #1.” Dkt. 10, Exh. 1. Article XIII, titled “Dispute Resolution,”

appears in the main agreement and provides in relevant part:

                    13.1 Performance Review. In the event of any dispute,
                    controversy, or claim between the parties hereto arising from or
                    relating to the subject of this Agreement (a “Dispute”), upon the
                    written request of either party, each of the parties shall appoint a
                    designated officer to meet and negotiate in good faith to resolve
                    such Dispute. Formal proceedings for the arbitration of such
                    Dispute in accordance with Section 13.2 hereof may not be
                    commenced until the earlier of (a) the expiration of sixty (60) days
                    after the initial request for such negotiations, or (b) either of the
                    designated officers concluding in good faith and notifying the
                    other designated officer that amicable resolution through
                    continued negotiation of the matter in issue does not appear likely.

                    13.2 Arbitration. Company and You stipulate and agree that if
                    they are unable to resolve any Dispute as contemplated by Section
                    13.1 hereof, then such Dispute shall be resolved by final and
                    binding arbitration . . .

          In opposing arbitration, plaintiff does not argue that the disputes underlying the causes

of action in the complaint are outside the scope of Article XIII, with good reason: the phrase

“arising from or relating to the subject of this Agreement” necessarily creates a presumption of

arbitrability. Kiefer Specialty Flooring, Inc. v. Tarkett, Inc., 174 F.3d 907, 910 (7th Cir. 1999).

Rather, plaintiff argues that Article XIII is not in effect at all because it was replaced by Section

19 of Addendum #1. Addendum #1, which was signed the same day as the main agreement,


          2
              Exhibit F has one attachment and one appendix, neither of which is material to the instant
motion.

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consists entirely of modifications to the main agreement and its attachments. It specifies that

“[i]n the event of a conflict between the Agreement, any previously executed Addendum and the

terms of this Addendum, the terms of this Addendum shall prevail.” Addendum #1, preliminary

paragraph B. Section 19 of Addendum #1 provides:

               Article XV of the Agreement shall be amended to reflect that any
               cause of action arising out of or related to this Agreement may
               only be brought by either party in the Court of applicable
               jurisdiction in the State of Wisconsin and the parties hereby
               submit to the jurisdiction and venue of such court.

According to plaintiff, the inclusion of Section 19 in Addendum #1 reflects the intent of the

parties to replace Article XIII’s dispute resolution procedure in favor of allowing the parties to

litigate their disputes in the Wisconsin courts.

       Because arbitration is a matter of contract, “a party cannot be required to submit to

arbitration any dispute which he has not agreed so to submit.” Howsam v. Dean Witter Reynolds,

Inc., 537 U.S. 79, 83 (2002) (citation and internal quotation marks omitted). That being so,

because federal policy favors arbitration, “courts must place arbitration agreements on an equal

footing with other contracts, and enforce them according to their terms.” AT&T Mobility LLC

v. Concepcion, ___ U.S. ___, 131 S.Ct. at 1745 (2011)(citations omitted). To determine whether

a contract's arbitration clause applies to a given dispute, federal courts apply state law principles

of contract formation. Gore v. Alltel Communications, LLC, 666 F.3d 1027, 1032 (7th Cir. 2012)

(citing Rosenblum v. Travelbyus.com Ltd., 299 F.3d 657, 662 (7th Cir. 2002)).

       Wisconsin courts interpret contracts in order to determine and give effect to the

intentions of the parties, presuming that those intentions are expressed in the language of the

contract. Estate of Kriefall v. Sizzler USA Franchise, Inc., 2012 WI 70, ¶ 21, 342 Wis. 2d 29, 816

N.W. 2d 853. The parties’ intent is derived from the unambiguous contract language, not from

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how one party may interpret it. Campion v. Montgomery Elevator Co., 172 Wis. 2d 405, 416, 493

N.W. 2d 244 (Ct. App. 1992).

       Applying these rules of construction to the parties’ contract in this case establishes that

plaintiff’s interpretation is wrong. Plaintiff’s argument founders on its central premise, that is,

that a conflict exists between Section 19 of the addendum and Article XIII of the main

agreement. There is no conflict. As defendants point out, Section 19 specifies that its terms

apply only to Article XV of the main agreement; it says nothing about Article XIII. Article XV,

entitled “Miscellaneous,” contains just that, a list of miscellaneous provisions commonly

included in contracts, addressing topics such as authority to contract, notice requirements,

severability, effective date and others. Clearly, Section 19 was intended to add to this list of

miscellany a venue-selection clause, specifying that any litigation between the parties was to

occur in Wisconsin.

       Contrary to plaintiff’s argument, nothing in Section 19 suggests that the parties meant

to eviscerate Article XIII or to have all “disputes” litigated rather than arbitrated. Indeed, the

parties did not use the term “dispute” in Section 19; they used the much narrower term “cause

of action.” Further, the provisions are not inherently contradictory. Notwithstanding the broad

language of the arbitration provision, it does not forbid the filing of a lawsuit: a party may waive

arbitration, file suit to obtain injunctive relief or, as in this case, file a suit that should be

arbitrated instead. Section 19 simply provides that in the event a suit is filed, it must be filed

in Wisconsin.

       Because the two provisions can be reconciled in a way that gives effect to each of them,

it is unnecessary to find that one controls over the other.          Milwaukee Police Supervisors’

Organization v. City of Milwaukee, 2012 WI App. 59, ¶ 17, 341 Wis. 2d 361, 815 N.W. 2d

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391(court must construe contract to give effect to all provisions). Article XIII stands unaltered

and requires the parties to arbitrate the instant dispute. Contrary to defendants’ understanding,

however, “the proper course of action when a party seeks to invoke an arbitration clause is to

stay the proceedings rather than to dismiss outright.” Cont'l Cas. Co. v. Am. Nat'l Ins. Co., 417

F.3d 727, 732 n. 7 (7th Cir. 2005) (citing Tice v. Am. Airlines, Inc., 288 F.3d 313, 318 (7th Cir.

2002)). Accordingly, the motion to compel arbitration will be granted, but this case will be

stayed pending arbitration.




                                            ORDER

       IT IS ORDERED THAT:

       Defendants’ motion to dismiss this case and order the matter to arbitration is GRANTED

IN PART and DENIED IN PART. The motion to order the matter to arbitration is GRANTED.

However, the motion to dismiss the case is DENIED. Instead, this case shall be STAYED

pending arbitration pursuant to 9 U.S.C. § 3.




       Entered this 28th day of January, 2013.

                                                    BY THE COURT:

                                                    /s/

                                                    STEPHEN L. CROCKER
                                                    Magistrate Judge




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